 Case 4:21-cr-00102-CVE Document 42 Filed in USDC ND/OK on 05/21/21 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

                       Plaintiff,

v.                                                     Case No. 21-CR-102-CVE-4

SHAUNI BREANNE CALLAGY,

                       Defendant.

              Joint Motion for Continuance of Events in the Scheduling Order

        The United States, by and through Assistant United States Attorney Thomas E.

     Duncombe, and the defendant, by and through defense counsel Steven Stidham,

     jointly move the Court to continue by 30 days the events in the current scheduling

     order. (Dkt #27). In support of this motion, the parties state as follows:

           Callagy’s initial appearance on the Indictment took place on April 15, 2021.

     (Dkt. #18). Since Callagy’s initial appearance, the government has produced discovery

     pursuant to a protective order, and the parties have engaged in good-faith negotiations

     about a possible pretrial resolution of the charges Callagy is facing. The parties

     continue to negotiate in good faith. Under the current scheduling order, the case is set

     for pretrial conference on May 26, 2021 and jury trial on June 21, 2021. (Dkt. #27).

     Callagy is detained pending trial. The parties have not previously requested a

     continuance in this case.

        Counsel for the government has spoken with counsel for Callagy prior to filing this

     motion. Callagy’s counsel indicated that Callagy would join in the motion. He stated
Case 4:21-cr-00102-CVE Document 42 Filed in USDC ND/OK on 05/21/21 Page 2 of 4




that Callagy would execute a waiver of speedy trial for the thirty-day period requested

in this motion and file that waiver with the Court.

   In light of the above, the parties request a 30-day continuance of the dates in the

scheduling order, including the pretrial conference date currently scheduled for May

26, 2021 and the jury trial date currently scheduled for June 21, 2021. The parties urge

the Court to balance the appropriate considerations in favor of granting a continuance

in the interest of justice. See United States v. Toombs, 574 F.3d 1262, 1269, 1273 (10th

Cir. 2009).

   The Speedy Trial Act provides that certain “periods of delay shall be excluded . . .

in computing the time within which the trial of any such offense must commence.” 18

U.S.C. § 3161(h). Among those periods of delay excluded are periods “resulting from

a continuance granted by a judge . . . if the judge granted such continuance on the basis

of his findings that the ends of justice served by taking such action outweigh the best

interests of the public and the defendant in speedy trial.” 18 U.S.C. § 3161(h)(7)(A).

Among the factors a judge shall consider in making this determination are “whether

the failure to grant such a continuance in a case . . . would unreasonably deny counsel

for the defendant, or the attorney for the Government the reasonable time necessary

for effective preparation, taking into account the exercise of due diligence.” 18 U.S.C.

§ 3161(h)(7)(B)(iv). Additionally, pursuant to 18 U.S.C. ' 3161(h)(7)(B)(i), the Court

may grant a continuance to avoid a miscarriage of justice.

   Part of the parties’ ability to engage in “effective preparation” of this case is

engaging in talks about how to resolve the case pre-trial. 18 U.S.C. § 3161(h)(7)(B)(iv).
Case 4:21-cr-00102-CVE Document 42 Filed in USDC ND/OK on 05/21/21 Page 3 of 4




Allowing the parties to continue working towards a resolution is in the interests of

justice and judicial economy. Accordingly, the parties jointly request a continuance of

the events in the scheduling order in the interest of justice, for the above-stated reasons

and for no improper reason.



   WHEREFORE, the Court should grant this joint motion for a 30-day continuance

of the events in the scheduling order, including the May 26, 2021 pretrial conference

date and the June 21, 2021 trial date.



                                         Respectfully submitted,

                                         CLINTON J. JOHNSON
                                         Acting United States Attorney
                                         Northern District of Oklahoma

                                          /s/ Thomas E. Duncombe
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Case 4:21-cr-00102-CVE Document 42 Filed in USDC ND/OK on 05/21/21 Page 4 of 4




                          CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of May, 2021, I transmitted by electronic
mail the foregoing SEALED document to the following recipient:

Craig M. Hoehns
Counsel for Shauni Breanne Callagy
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                                        /s/ Thomas E. Duncombe
                                       Thomas E. Duncombe
                                       Assistant United States Attorney
